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                                  STATE OF MICHIGAN
           THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

 CITY OF YPSILANTI, a Michigan
 municipal corporation
                                                  Case No. 21-000696-CE
       Plaintiff,
                                                  Honorable Carol Kuhnke
 V.

 M.I.C. LIMITED, INC., YPSILANTI
 ART THEATRE CORP. d/b/a Deja Vu
 Showgirls Ypsilanti,
 INTERNATIONAL AMUSEMENT,
 LTD.,
        Defendants

 Kimberly L. Scott (P69706)             Matthew J. Hoffer (P70495)
 Miller Canfield Paddock and Stone, PLC Zachary M. Youngsma (P84148)
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                                CORRECTED       ORDER STAYING CASE
                    At a session of this Court held in the City of Ann
                     Arbor, Washtenaw County, State of Michigan

      The Parties, having appeared before the Court pursuant to Defendants' Motion
for Summary Disposition in Lieu of Answer, and the Court, having considered the
Parties' papers and heard oral argument on September 9, 2021, finds:
      1.     There is a preexisting case in United States District Court for the
Eastern District of Michigan captioned as: Ypsilanti Art Theatre Corp, et al., v. City
of Ypsilanti, et al., No. 5:21-cv-10982-JEL-APP (the "Federal Action");


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